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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

 ARTURO DeLEON-REYES,                               )
                                                    )
               Plaintiff,                           ) 1:18 Civ. 1028
                                                    )
               v.                                   ) Hon. Steven C. Seeger
                                                    )
 REYNALDO GUEVARA, et al.,                          ) Magistrate Sunil R. Harjani
                                                    )
               Defendants.                          )
                                                    )


 GABRIEL SOLACHE,                                   )
                                                    )
               Plaintiff,                           ) 1:18 Civ. 2312
                                                    )
               v.                                   ) Hon. Steven C. Seeger
                                                    )
 CITY OF CHICAGO, et al.,                           ) Magistrate Sunil R. Harjani
                                                    )
               Defendants.                          )
                                                    )

     DEFENDANT CITY OF CHICAGO’S MOTION FOR ADDITIONAL TIME TO
     CONDUCT THE DEPOSITIONS OF PLAINTIFF GABRIEL SOLACHE, ERIC
       SUSSMAN, AND FOR ADDITIONAL TIME TO FILE ITS REPLY BRIEF

         Defendant City of Chicago (the “City”), by and through its undersigned attorneys, hereby

moves this Honorable Court for addition time to conduct the depositions of Plaintiff Gabriel

Solache, former Cook County prosecutor Eric Sussman, and for additional time to file its reply

brief in support of its Motion for Protective Order to Prevent Undue Strain on Resources of Public

Entities for Speculative Monell Discovery (Reyes, Dkt. 503; Solache, Dkt. 355), and, in support,

state:

         1.     Defendant City of Chicago seeks additional time to conduct the depositions

Plaintiff Gabriel Solache and Eric Sussman, and for additional time to file its Reply brief in support
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of its Motion for Protective Order to Prevent Undue Strain on Resources of Public Entities for

Speculative Monell Discovery because of a death in the family of the City’s lead counsel.

Unfortunately, Ms. Rosen’s father passed away on the evening of September 27, 2021.

        2.      The parties had previously scheduled Mr. Sussman’s deposition for September 28,

2021 and confirmed this date with the Court. See Reyes, Dkt. 474. Due to Ms. Rosen’s father’s

failing health over the weekend, and the fact that Ms. Rosen had been preparing for the deposition

and planned to take the lead for defense counsel, Mr. Sussman’s deposition could not proceed as

scheduled. Plaintiffs did not object to the City canceling the deposition and do not object to

rescheduling it.

        3.      The parties had also scheduled Plaintiff Solache’s deposition to occur on three days

the week of October 4, 2021 in Mexico, where Mr. Solache resides. Ms. Rosen was also preparing

for that deposition and planned to take the lead for the defendants, as Ms. Rosen had previously

taken the lead for the deposition of Plaintiff Reyes. Because of her father’s passing and the

schedule of the upcoming services, Mr. Rosen is no longer able to travel to Mexico next week to

conduct the deposition. Indeed, the services will likely occur after the date Ms. Rosen was set to

fly to Mexico. Neither Plaintiff in this case objects to rescheduling Mr. Solache’s deposition.

        4.      Finally, this Court previously ordered the City to file its reply brief in support of its

Motion for Protective Order pertaining to Monell discovery in this case by October 4, 2021. See

Reyes, Dkt. 474. Again, because of the death in Ms. Rosen’s family, the City requests additional

time to file its reply brief. The City requests until October 15, 2021 to file its reply. Plaintiffs also

have no objection to this request.

        5.      The City recognizes the importance of completing these matters. It does not seek

to create unnecessary delay, and this request for additional time will not prejudice any party.
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       WHEREFORE, Defendant City of Chicago respectfully requests this Court grant the

parties additional time to conduct the depositions of Plaintiff Solache, Eric Sussman, and for

additional time to file its reply to its Motion for Protective Order to Prevent Undue Strain on

Resources of Public Entities for Speculative Monell Discovery.

 Dated: September 28, 2021                      Respectfully submitted,

                                                CELIA MEZA

                                                Acting Corporation Counsel for the City of
                                                Chicago

                                                By:    /s/ Catherine M. Barber
                                                One of its attorneys
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